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   Mail: P.O. Box 5231, Princeton, NJ 08543-5231

   212 Carnegie Center
   Suite 400
   Tel 609.896.3600 Fax 609.896.1469
   www.foxrothschild.com




                                                      October 25, 2024
  Via PACER/ECF

  The Honorable Michael A. Shipp, U.S.D.J.
  The Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court for the District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, New Jersey 08608


            Re:         In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                        and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)


  Dear Judge Shipp and Judge Singh:

         We represent Beasley Allen and Andy D. Birchfield, Jr., Esq. (together “Beasley Allen”)
  regarding the pending Motion to Remove Beasley Allen from the Plaintiffs’ Steering Committee,
  see ECF No. 33290, and the Motion to Disqualify Beasley Allen from this MDL litigation, see
  ECF No. 28760 (the “Motions”).
          In addition to our earlier submissions advising that the Texas Bankruptcy Court’s Order
  stays the above referenced Motions, see ECF Nos. 33402 and 33403, J&J has now filed an
  application to stay its pending appeal of the Motion to Disqualify Beasley Allen from the New
  Jersey state MCL before the Superior Court of New Jersey – Appellate Division, an appeal raising
  issues nearly identical to the Motions before this Court. (See attached). J&J’s recent motion to stay
  the MCL appeal recognizes—as Beasley Allen submitted earlier—that the Texas Bankruptcy
  Court’s October 24, 2024 order stays the “motion to disqualify” the Beasley Allen firm “in the
  federal MDL” and “all activity in the Pending Actions, whether offensive or defensive.”
        We ask the Court to consider this additional information in confirming that the Texas
  Bankruptcy Court’s order stays the Motions, and Beasley Allen need not respond and/or oppose
  the Motions until further notice.
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  Page 2

         Thank you for your time and attention to this matter.
                                                         Respectfully submitted,

                                                          /s/ Jeffrey M. Pollock

                                                         JEFFREY M. POLLOCK

  cc: All Counsel (via ECF)
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  EXHIBIT A
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CASE SUMMARY - TRIAL COURT
BELOW IS A SUMMARY OF THE CASE YOU ARE FILING WITH THE APPELLATE DIVISION.
REVIEW ALL INFORMATION AND DOCUMENTS FOR ACCURACY PRIOR TO HITTING THE SUBMIT BUTTON
ON THE NEXT PAGE.

FILING ID #                          1660226                        TRIAL COURT DOCKET # ATL-L-2648-15
APPELLATE #                          A-000215-24 (AM-   TRIAL COURT COUNTY     ATLANTIC
                                     000635-23)
CASE TITLE                           IN RE TALC BASED POWDER PRODUCTS LITIGATION
CASE TYPE                            CIVIL                          DISPOSITION DATE                       07/19/2024
CATEGORY                             LAW-CIVIL PART
TRIAL COURT JUDGE                    JOHN C. PORTO, JSC

PARTY/ATTORNEY


                                                        FIRM NAME - ATTORNEY
PARTY               PARTY         PARTY
                                                        NAME /               ADDRESS
NAME                ROLE          DESIGNATION
                                                        ATTORNEY ROLE
BEASLEY ALLEN LAW OTHER           RESPONDENT            FOX ROTHSCHILD LLP - JEFFREY M      212 CARNEGIE CENTER, SUITE 400 PRINCETON, NJ
FIRM                                                    POLLOCK (ATTORNEY OF RECORD)        08540
                                                                                            609-896-3600
                                                                                            JMPOLLOCK@FOXROTHSCHILD.COM;
                                                                                            AWIENER@FOXROTHSCHILD.COM
JOHNSON &       DEFENDANT         APPELLANT             FAEGRE DRINKER BIDDLE & REATH LLP - 600 CAMPUS DR, FLORHAM PARK, NJ 07932-1047
JOHNSON AND LLT                                         SUSAN M SHARKO (ATTORNEY OF         973-549-7000
MANAGEMENT, LLC                                         RECORD)                             SUSAN.SHARKO@FAEGREDRINKER.COM;
                                                                                            MICHELLE.MCCORKLE@FAEGREDRINKER.COM;
                                                                                            SEAN.GARRETT@FAEGREDRINKER.COM




DOCUMENTS


                                               FIRM NAME /                                                          DATE
DOCUMENT /                      FILING                     CATEGORY /
                                               ATTORNEY                                           SOURCE         DOCUMENT STATUS
FILE NAME                       PARTY                      DOCUMENT TYPE
                                               ATTENTION                                                          CREATED
MOTION FOR LEAVE TO APPEAL      JOHNSON &      FAEGRE DRINKER       MOTION - FOR LEAVE TO APPEAL SYSTEM             08/08/2024       APPROVED
(M-006702-23)                   JOHNSON AND    BIDDLE & REATH LLP -                              GENERATED
                                LLT            SUSAN M SHARKO
                                MANAGEMENT,
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MOTION- BRIEF                   JOHNSON &      FAEGRE DRINKER       MOTION SUPPORTING             UPLOAD            08/08/2024       APPROVED
                                JOHNSON AND    BIDDLE & REATH LLP - DOCUMENTS/ ANSWERS/
                                LLT            SUSAN M SHARKO       OPPOSITIONS/ ATTACHMENTS -
                                MANAGEMENT,                         MOTION BRIEF
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TRIAL COURT                     JOHNSON &      FAEGRE DRINKER       APPELLATE DOCUMENTS - TRIAL   UPLOAD            08/08/2024       APPROVED
ORDER/JUDGMENT/DECISION         JOHNSON AND    BIDDLE & REATH LLP - COURT
(07/19/2024)                    LLT            SUSAN M SHARKO       ORDER/JUDGMENT/DECISION
                                MANAGEMENT,
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APPELLANTS APPENDIX (Vol. 1)    JOHNSON &      FAEGRE DRINKER       BRIEF AND APPENDIX -          UPLOAD            08/08/2024       APPROVED
                                JOHNSON AND    BIDDLE & REATH LLP - APPELLANTS APPENDIX
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                                MANAGEMENT,
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HEARING (02/14/2024) (Vol. 1)   JOHNSON &       FAEGRE DRINKER       TRANSCRIPT - HEARING          UPLOAD           08/08/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP -
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                                MANAGEMENT,
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                                JOHNSON AND     BIDDLE & REATH LLP -
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                                MANAGEMENT,
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                                JOHNSON AND     BIDDLE & REATH LLP -
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                                JOHNSON AND     BIDDLE & REATH LLP -
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HEARING (05/03/2024) (Vol. 1)   JOHNSON &       FAEGRE DRINKER       TRANSCRIPT - HEARING          UPLOAD           08/08/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP -
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PROOF OF SERVICE                JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - PROOF SYSTEM             08/08/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP - OF SERVICE                  GENERATED
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PRO HAC ADMISSION ORDER AND JOHNSON &           FAEGRE DRINKER       APPELLATE DOCUMENTS - PRO     UPLOAD           08/09/2024   APPROVED
CERTIFICATION OF STANDING   JOHNSON AND         BIDDLE & REATH LLP - HAC ADMISSION ORDER AND
                            LLT                 SUSAN M SHARKO       CERTIFICATION OF STANDING
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                                JOHNSON AND     BIDDLE & REATH LLP - OF SERVICE                  GENERATED
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                                MANAGEMENT,
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                                                                       INITIATED NOTICES
MOTION ANSWER/OPPOSITION        BEASLEY ALLEN   FOX ROTHSCHILD LLP MOTION SUPPORTING               UPLOAD           08/19/2024   APPROVED
                                LAW FIRM        - JEFFREY M POLLOCK DOCUMENTS/ ANSWERS/
                                                                    OPPOSITIONS/ ATTACHMENTS -
                                                                    MOTION ANSWER
MOTION APPENDIX (Vol. 1)        BEASLEY ALLEN   FOX ROTHSCHILD LLP MOTION SUPPORTING               UPLOAD           08/19/2024   APPROVED
                                LAW FIRM        - JEFFREY M POLLOCK DOCUMENTS/ ANSWERS/
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                                                                    MISC-MOTION APPENDIX
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                                                                    OPPOSITIONS/ ATTACHMENTS -
                                                                    MISC-MOTION APPENDIX
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                           LAW FIRM        - JEFFREY M POLLOCK OF SERVICE                 GENERATED
MOTION FOR (M-007064-23)   JOHNSON &       FAEGRE DRINKER       MOTION - FOR LEAVE TO FILE   SYSTEM           08/26/2024   APPROVED
                           JOHNSON AND     BIDDLE & REATH LLP - REPLY BRIEF IN SUPPORT OF    GENERATED
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                           MANAGEMENT,
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MOTION                     JOHNSON &       FAEGRE DRINKER       MOTION SUPPORTING            UPLOAD           08/26/2024   APPROVED
CERTIFICATION/SUPPORTING   JOHNSON AND     BIDDLE & REATH LLP - DOCUMENTS/ ANSWERS/
DOCUMENT                   LLT             SUSAN M SHARKO       OPPOSITIONS/ ATTACHMENTS -
                           MANAGEMENT,                          MOTION
                           LLC                                  CERTIFICATION/SUPPORTING
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MOTION- BRIEF              JOHNSON &       FAEGRE DRINKER       MOTION SUPPORTING            UPLOAD           08/26/2024   APPROVED
                           JOHNSON AND     BIDDLE & REATH LLP - DOCUMENTS/ ANSWERS/
                           LLT             SUSAN M SHARKO       OPPOSITIONS/ ATTACHMENTS -
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                           JOHNSON AND     BIDDLE & REATH LLP - OF SERVICE                  GENERATED
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ORDER (GRANTED)            Court                               APPELLATE DOCUMENTS - ORDER INTERFACE          09/20/2024   APPROVED
ORDER (GRANTED)            Court                               APPELLATE DOCUMENTS - ORDER INTERFACE          09/20/2024   APPROVED
LETTER OF COMMUNICATION    JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - LETTER UPLOAD           09/23/2024   APPROVED
                           JOHNSON AND     BIDDLE & REATH LLP - OF COMMUNICATION
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                           JOHNSON AND     BIDDLE & REATH LLP - OF SERVICE                  GENERATED
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LETTER OF COMMUNICATION    BEASLEY ALLEN   FOX ROTHSCHILD LLP APPELLATE DOCUMENTS - LETTER UPLOAD             09/24/2024   APPROVED
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                           LAW FIRM        - JEFFREY M POLLOCK OF SERVICE                 GENERATED
LETTER OF COMMUNICATION    JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - LETTER UPLOAD           09/25/2024   APPROVED
                           JOHNSON AND     BIDDLE & REATH LLP - OF COMMUNICATION
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                           JOHNSON AND     BIDDLE & REATH LLP - OF SERVICE                  GENERATED
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                           LAW FIRM        - JEFFREY M POLLOCK OF COMMUNICATION
PROOF OF SERVICE           BEASLEY ALLEN   FOX ROTHSCHILD LLP APPELLATE DOCUMENTS - PROOF SYSTEM              09/25/2024   APPROVED
                           LAW FIRM        - JEFFREY M POLLOCK OF SERVICE                 GENERATED
LETTER OF COMMUNICATION    JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - LETTER UPLOAD           09/26/2024   APPROVED
                           JOHNSON AND     BIDDLE & REATH LLP - OF COMMUNICATION
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PROOF OF SERVICE           JOHNSON &       FAEGRE DRINKER      APPELLATE DOCUMENTS - PROOF SYSTEM             09/26/2024   APPROVED
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LETTER OF COMMUNICATION         JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - LETTER UPLOAD        09/30/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP - OF COMMUNICATION
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PROOF OF SERVICE                JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - PROOF SYSTEM         09/30/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP - OF SERVICE                  GENERATED
                                LLT             SUSAN M SHARKO
                                MANAGEMENT,
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LETTER OF COMMUNICATION         BEASLEY ALLEN   FOX ROTHSCHILD LLP APPELLATE DOCUMENTS - LETTER UPLOAD          10/04/2024   APPROVED
                                LAW FIRM        - JEFFREY M POLLOCK OF COMMUNICATION
PROOF OF SERVICE                BEASLEY ALLEN   FOX ROTHSCHILD LLP APPELLATE DOCUMENTS - PROOF SYSTEM           10/04/2024   APPROVED
                                LAW FIRM        - JEFFREY M POLLOCK OF SERVICE                 GENERATED
LETTER OF COMMUNICATION         JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - LETTER UPLOAD        10/07/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP - OF COMMUNICATION
                                LLT             SUSAN M SHARKO
                                MANAGEMENT,
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PROOF OF SERVICE                JOHNSON &       FAEGRE DRINKER       APPELLATE DOCUMENTS - PROOF SYSTEM         10/07/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP - OF SERVICE                  GENERATED
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APPELLANTS BRIEF                JOHNSON &       FAEGRE DRINKER       BRIEF AND APPENDIX -       UPLOAD          10/24/2024   DEFICIENT
                                JOHNSON AND     BIDDLE & REATH LLP - APPELLANTS BRIEF
                                LLT             SUSAN M SHARKO
                                MANAGEMENT,
                                LLC
APPELLANTS APPENDIX (Vol. 1)    JOHNSON &       FAEGRE DRINKER       BRIEF AND APPENDIX -       UPLOAD          10/24/2024   APPROVED
                                JOHNSON AND     BIDDLE & REATH LLP - APPELLANTS APPENDIX
                                LLT             SUSAN M SHARKO
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CONFIDENTIAL APPENDIX (Vol. 1) JOHNSON &        FAEGRE DRINKER       EXHIBIT - CONFIDENTIAL     UPLOAD          10/24/2024   PENDING
                               JOHNSON AND      BIDDLE & REATH LLP - APPENDIX                                                MOTION
                               LLT              SUSAN M SHARKO
                               MANAGEMENT,
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HEARING (01/17/2024) (Vol. 1)   JOHNSON &       FAEGRE DRINKER       TRANSCRIPT - HEARING       UPLOAD          10/24/2024   DEFICIENT
                                JOHNSON AND     BIDDLE & REATH LLP -
                                LLT             SUSAN M SHARKO
                                MANAGEMENT,
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HEARING (02/14/2024) (Vol. 1)   JOHNSON &       FAEGRE DRINKER       TRANSCRIPT - HEARING       UPLOAD          10/24/2024   DEFICIENT
                                JOHNSON AND     BIDDLE & REATH LLP -
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                                JOHNSON AND     BIDDLE & REATH LLP -
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HEARING (03/25/2024) (Vol. 2)   JOHNSON &       FAEGRE DRINKER       TRANSCRIPT - HEARING       UPLOAD          10/24/2024   DEFICIENT
                                JOHNSON AND     BIDDLE & REATH LLP -
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                                MANAGEMENT,
                                LLC
HEARING (04/10/2024) (Vol. 1)   JOHNSON &       FAEGRE DRINKER       TRANSCRIPT - HEARING       UPLOAD          10/24/2024   DEFICIENT
                                JOHNSON AND     BIDDLE & REATH LLP -
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                                LLT           SUSAN M SHARKO
                                MANAGEMENT,
                                LLC
HEARING (04/10/2024) (Vol. 2)   JOHNSON &     FAEGRE DRINKER       TRANSCRIPT - HEARING         UPLOAD           10/24/2024   DEFICIENT
                                JOHNSON AND   BIDDLE & REATH LLP -
                                LLT           SUSAN M SHARKO
                                MANAGEMENT,
                                LLC
HEARING (05/03/2024) (Vol. 1)   JOHNSON &     FAEGRE DRINKER       TRANSCRIPT - HEARING         UPLOAD           10/24/2024   DEFICIENT
                                JOHNSON AND   BIDDLE & REATH LLP -
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                                MANAGEMENT,
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HEARING (02/07/2024) (Vol. 1)   JOHNSON &     FAEGRE DRINKER       TRANSCRIPT - HEARING         UPLOAD           10/24/2024   DEFICIENT
                                JOHNSON AND   BIDDLE & REATH LLP -
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                                MANAGEMENT,
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MOTION FOR (M-000994-24)        JOHNSON &     FAEGRE DRINKER       MOTION - FOR LEAVE TO SUBMIT SYSTEM           10/24/2024   APPROVED
                                JOHNSON AND   BIDDLE & REATH LLP - DOCUMENTS IN CAMERA ISO      GENERATED
                                LLT           SUSAN M SHARKO       APPEAL
                                MANAGEMENT,
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MOTION                          JOHNSON &     FAEGRE DRINKER       MOTION SUPPORTING            UPLOAD           10/24/2024   APPROVED
CERTIFICATION/SUPPORTING        JOHNSON AND   BIDDLE & REATH LLP - DOCUMENTS/ ANSWERS/
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                                MANAGEMENT,                        MOTION
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                                                                   DOCUMENT
PROOF OF SERVICE                JOHNSON &     FAEGRE DRINKER       APPELLATE DOCUMENTS - PROOF SYSTEM            10/24/2024   APPROVED
                                JOHNSON AND   BIDDLE & REATH LLP - OF SERVICE                  GENERATED
                                LLT           SUSAN M SHARKO
                                MANAGEMENT,
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BRIEF DEFICIENCY LETTER         Court                             APPELLATE DOCUMENTS - CASE    INTERFACE        10/25/2024   APPROVED
                                                                  MANAGEMENT DEFICIENCIES
(AMENDED) APPELLANTS BRIEF      JOHNSON &     FAEGRE DRINKER       BRIEF AND APPENDIX -         UPLOAD           10/25/2024   PENDING
                                JOHNSON AND   BIDDLE & REATH LLP - APPELLANTS BRIEF                                           MOTION
                                LLT           SUSAN M SHARKO
                                MANAGEMENT,
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PROOF OF SERVICE                JOHNSON &     FAEGRE DRINKER       APPELLATE DOCUMENTS - PROOF SYSTEM            10/25/2024   APPROVED
                                JOHNSON AND   BIDDLE & REATH LLP - OF SERVICE                  GENERATED
                                LLT           SUSAN M SHARKO
                                MANAGEMENT,
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MOTION TO STAY APPELLATE        JOHNSON &     FAEGRE DRINKER       MOTION - TO STAY APPELLATE   SYSTEM           10/25/2024   SUBMITTED
PROCEEDINGS (M-001017-24)       JOHNSON AND   BIDDLE & REATH LLP - PROCEEDINGS                  GENERATED
                                LLT           SUSAN M SHARKO
                                MANAGEMENT,
                                LLC
MOTION                          JOHNSON &     FAEGRE DRINKER       MOTION SUPPORTING            UPLOAD           10/25/2024   SUBMITTED
CERTIFICATION/SUPPORTING        JOHNSON AND   BIDDLE & REATH LLP - DOCUMENTS/ ANSWERS/
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                                MANAGEMENT,                        MOTION
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PROOF OF SERVICE                JOHNSON &     FAEGRE DRINKER       APPELLATE DOCUMENTS - PROOF SYSTEM            10/25/2024   SUBMITTED
                                JOHNSON AND   BIDDLE & REATH LLP - OF SERVICE                  GENERATED
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                                LLC
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FEES AND PAYMENTS


Fee Type Fee Amount Fee Status Fee Paid Payment Date Payment Type Amount Due
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RELATED APPEALS


CASE                   TRIAL COURT/                  CASE     DISPOSITION
         APPELLATE #                                                          STATUS
TYPE                   AGENCY DOCKET #               TITLE    DATE
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                                                                New Jersey Judiciary
                                                          Superior Court - Appellate Division
                                                                 NOTICE OF MOTION

 SUSAN M SHARKO, Esq.
 FAEGRE DRINKER BIDDLE & REATH LLP
 600 CAMPUS DR
 FLORHAM PARK, NJ 07932-1047
 973-549-7000
 SUSAN.SHARKO@FAEGREDRINKER.COM                                                  DOCKET NO: A-000215-24 (AM-000635-23)
 MICHELLE.MCCORKLE@FAEGREDRINKER.COM
 SEAN.GARRETT@FAEGREDRINKER.COM


 IN RE TALC BASED POWDER PRODUCTS                                                Notice of Motion:
 LITIGATION
                                                                                 MOTION TO STAY APPELLATE PROCEEDINGS




 PLEASE TAKE NOTICE that the undersigned hereby moves before the Superior Court of New Jersey,
 Appellate Division, for an Order granting the above relief:

 In support of this motion, I shall rely on the accompanying brief or certification.

 I hereby certify that I am submitting the original of this notice of motion and accompanying brief or
 certification to the Clerk of the Appellate Division, and submitting same upon my adversary by email
 notification. If delivery by non-electronic means, two copies of same will be served upon the following:

 TO:

 JEFFREY M POLLOCK, Esq.
 FOX ROTHSCHILD LLP
 212 CARNEGIE CENTER
 SUITE 400
 PRINCETON, NJ 08540




(*) truncated due to space limit. Please find full information in the additional pages of the form.                            page 1 of 2
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                                                                        For: APPELLANT,
 Trial court #: ATL-L-2648-15                                                JOHNSON & JOHNSON AND LLT MANAGEMENT,
                                                                             LLC
 Trial court disposition date: 07/19/2024                                    s/ SUSAN M SHARKO, Esq.
 Category: LAW-CIVIL PART                                                    FAEGRE DRINKER BIDDLE & REATH LLP
 Type: CIVIL                                                                 BAR ID#: 009971979    Date: 10/25/2024
 County: ATLANTIC                                                            EMAIL:
                                                                             SUSAN.SHARKO@FAEGREDRINKER.COM;
                                                                             MICHELLE.MCCORKLE@FAEGREDRINKER.COM
 Trial Court Judge name: JOHN C. PORTO, JSC




(*) truncated due to space limit. Please find full information in the additional pages of the form.                            page 2 of 2
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 SUSAN M SHARKO, Esq.                                                Before Appellate Division,
 FAEGRE DRINKER BIDDLE & REATH LLP                                   Superior Court of New Jersey
 600 CAMPUS DR                                                       DOCKET NO. A-000215-24 (AM-000635-23)
 FLORHAM PARK, NJ 07932-1047
 973-549-7000
 SUSAN.SHARKO@FAEGREDRINKER.COM
 MICHELLE.MCCORKLE@FAEGREDRINKER.CO
 M
 SEAN.GARRETT@FAEGREDRINKER.COM
                                                                     CIVIL

 IN RE TALC BASED POWDER PRODUCTS LITIGATION
                                 PROOF OF SERVICE

        I hereby certify that an original of the following documents, MOTION TO STAY
 APPELLATE PROCEEDINGS, PROOF OF SERVICE, MOTION
 CERTIFICATION/SUPPORTING DOCUMENT were submitted and transmitted to the
 parties listed below in the following format:

 ELECTRONICALLY TO:
 ATTORNEY NAME: JEFFREY M POLLOCK, Esq.
 JMPOLLOCK@FOXROTHSCHILD.COM; AWIENER@FOXROTHSCHILD.COM


 BY MAIL:


        I certify that the forgoing statements made by me are true. I am aware that if any of
 the foregoing statements made by me are willfully false, I am subject to punishment.




                                                                     Attorney for APPELLANT
                                                                     JOHNSON & JOHNSON AND LLT
                                                                     MANAGEMENT, LLC
 Dated: 10/25/2024                                                   By: S/ SUSAN M SHARKO, Esq.




(*) truncated due to space limit. Please find full information in the additional pages of the form.                page 1 of 1
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                                     SUPERIOR COURT OF NEW
IN RE TALC-BASED POWDER              JERSEY, APPELLATE DIVISION
PRODUCTS LITIGATION                  DOCKET NO. A-000215-24

                                                 Civil Action
                                     ON APPEAL FROM AN
                                     INTERLOCUTORY DECISION
                                     OF THE SUPERIOR COURT
                                     OF NEW JERSEY LAW DIVISION,
                                     ATLANTIC COUNTY

                                     Master Docket No. ATL-L-2648-15
                                     MCL Case No. 300

                                     SAT BELOW:
                                     Hon. John C. Porto, J.S.C.

  DEFENDANTS-APPELLANTS JOHNSON & JOHNSON AND LLT
      MANAGEMENT LLC’S MOTION TO STAY APPEAL

                                   O’MELVENY & MYERS LLP
                                   Steve Brody (Pro Hac Vice)
                                   1625 Eye Street N.W.
                                   Washington, DC 20006
                                   Tel.: 202-383-5300
                                   sbrody@omm.com
                                   FAEGRE DRINKER BIDDLE &
                                   REATH LLP
                                   Susan M. Sharko
                                   N.J. Registration #: 00997-1979
                                   600 Campus Drive
                                   Florham Park, NJ 07932
                                   Tel.: 973-549-7000
                                   susan.sharko@faegredrinker.com

                                   Attorneys for Defendants-Appellants
                                   Johnson & Johnson and LLT
                                   Management LLC
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      Pursuant to New Jersey Rule of Court 2:8-1(b), Appellants Johnson &

Johnson and LLT Management, LLC (collectively, “J&J”) move to stay the appeal

docketed at A-000215-24 in accordance with a stay order issued by Hon. Christopher

Lopez, U.S. Bankruptcy Judge, on October 24, 2024 (Exhibit A). The Order was

issued in connection with the voluntary petition for relief under chapter 11 of title

11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the Southern District of Texas filed by Red River Talc LLC, a

Texas limited liability company which is now responsible for ovarian and

gynecological claims asserted against LLT Management LLC.                The Order

specifically applies the stay in bankruptcy (which expires on December 2, 2024), to

the “motion to disqualify” the Beasley Allen firm “in the federal MDL” and “all

activity in the Pending Actions, whether offensive or defensive.” See Exhibit A, at

page 5.

      Accordingly, J&J respectfully requests the appeal docketed at A-000215-24

be stayed.

                                 CONCLUSION

      For the foregoing reasons, J&J respectfully requests the appeal docketed at A-

000215-24 be stayed until December 2, 2024, or such other time that the October

24, 2024 bankruptcy stay order expires or is modified so as to permit this appeal to

proceed.



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Dated: October 25, 2024
                                       Respectfully submitted,




                                       Stephen D. Brody (Pro Hac Vice)
                                       O’MELVENY & MYERS LLP
                                       625 Eye Street N.W.
                                       Washington, DC 20006
                                       Tel.: 202-383-5300
                                       sbrody@omm.com

                                       /s/Susan M. Sharko
                                       Susan M. Sharko
                                       FAEGRE DRINKER BIDDLE &
                                       REATH LLP
                                       600 Campus Drive
                                       Florham Park, NJ 07932
                                       Tel.: 973-549-7000
                                       susan.sharko@faegredrinker.com

                                       Attorneys for Defendants-Appellants
                                       Johnson & Johnson and LLT
                                       Management LLC




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               EXHIBITA
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                                                   PageID: 262793                                     United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                                 UNITED STATES BANKRUPTCY COURT                                            October 24, 2024
                                   SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                         HOUSTON DIVISION

                                                              :
    In re:                                                    : Chapter 11
                                                              :
    RED RIVER TALC LLC,1                                      : Case No. 24-90505 (CML)
                                                              :
              Debtor.                                         :
                                                              :
                                                              :
    RED RIVER TALC LLC,                                       :
                                                              :
              Plaintiff,                                      :
                                                              :
    v.                                                        : Adv. Pro. No. 24-03194 (CML)
                                                              :
    THOSE PARTIES LISTED ON                                   :
    APPENDIX A TO COMPLAINT                                   :
    and JOHN AND JANE DOES 1-1000,                            :
                                                              :
              Defendants.                                     :
                                                              :


                       ORDER DETERMINING THAT THE AUTOMATIC STAY
                       APPLIES AND EXTENDS TO CERTAIN NON-DEBTORS

                                             (Relates to Docket Nos. 1, 2)

             This matter coming before the Court on the Complaint for Declaratory and Injunctive

Relief (I) Declaring That the Automatic Stay Applies to Certain Actions Against Non Debtors,

(II) Preliminarily Enjoining Such Actions and (III) Granting a Temporary Restraining Order

Pending a Final Hearing (the “Complaint”) and the Debtor’s Emergency Motion for (I) An Order

(A) Declaring That the Automatic Stay Applies to Certain Actions Against Non-Debtors, or

(B) Preliminarily Enjoining Such Actions and (II) A Temporary Restraining Order Pending a



1
             The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.



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Final Hearing (the “Motion”), both filed by the above-captioned Plaintiff Red River Talc LLC

(the “Debtor”); this Court having reviewed (a) the Complaint, (b) the Motion, (c) the Declaration

of John K. Kim in Support of Debtor’s Complaint for Declaratory and Injunctive Relief and

Related Motion (the “Kim Declaration”), (d) the Declaration of Adam Lisman in Support of

Debtor’s Complaint for Declaratory and Injunctive Relief and Related Motion (the “Lisman

Declaration”), (e) the Declaration of John K. Kim in Support of Chapter 11 Case and Certain First

Day Pleadings [Dkt. 17 in No. 24-90505] (the “First Day Declaration”) and (f) the Declaration of

Adam C. Silverstein in Support of the Coalition Objection to the Motion [Dkt. 11] filed in the

Chapter 11 Case, together with any responses or answers to the Motion or the Complaint; and

having heard the arguments of counsel and considered the testimony of John Kim and evidence

adduced at a hearing on October 21, 2024 (the “Hearing”); and this Court having determined that

the legal and factual bases set forth in the Complaint, the Motion, the Kim Declaration, the Lisman

Declaration, the First Day Declaration and at the Hearing establish just cause for relief granted

herein;

            THE COURT HEREBY FINDS THAT:

                A.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334.

                B.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court

may enter a final order consistent with Article III of the United States Constitution.

                C.     Venue for this matter is proper in this District pursuant to 28 U.S.C. § 1409.

                D.     Notice of the Motion and the Hearing was sufficient and appropriate under

the circumstances and complied with the requirements of chapter 11 of title 11 of the United States




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Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure and the Bankruptcy

Local Rules for the Southern District of Texas. No other or further notice is necessary.

                  E.       For purposes of this order (this “Order”), “Debtor Talc Claims” means,

collectively, any talc-related claim against the Debtor, including all claims relating in any way to

talc or talc-containing products or materials that formerly were asserted against (or that could have

been asserted against) LLT Management LLC (f/k/a LTL Management LLC) on any theory of

liability (whether direct, derivative, joint and several, successor liability or vicarious liability,

fraudulent or voidable transfer or conveyance, alter ego or otherwise). Notwithstanding the

foregoing, Debtor Talc Claims do not include: (a) any claim or demand that (i) alleges that the

relevant injured or deceased individual was exposed to talc or the product or material containing

talc, as applicable, in Canada or resided in Canada at the time such claim is filed or (ii) was brought,

threatened or pursued in any court in Canada; (b) any claim or demand asserted or assertable by

or on behalf of any governmental unit under any federal, state, international or foreign consumer

or employee protection rule, statute or regulation; and (c) any claim or demand that alleges that

the relevant injured or deceased individual developed Mesothelioma 2 or Lung Cancer 3 in

connection with such individual’s use of talc or a product or material containing talc.

                  F.       The Plaintiff in this adversary proceeding is Debtor Red River Talc LLC.

The Defendants in this adversary proceeding are those parties listed on Appendix A hereto, as well

as John and Jane Does 1-1000. The Defendants listed on Appendix A are all named plaintiffs in

talc-related lawsuits against the Debtor (or for which the Debtor is responsible or alleged to be



          2
                   “Mesothelioma” means the type of cancer that develops from the mesothelium, i.e., the thin layer
of tissue that covers certain internal organs including the pleural, peritoneal, and pericardial cavities.
            3
                  “Lung Cancer” means a primary lung cancer (i.e., a lung cancer that originates in the lungs and is
unrelated to any previous cancer as opposed to a lung cancer that has spread to the lungs from another part of the
body).


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responsible) as of or after the Petition Date who sought to hold, or may seek to hold, one or more

of the Protected Parties liable for Debtor Talc Claims. The Protected Parties are listed in Appendix

B, and their number is substantially less than the number initially proposed by the Debtor. The

Debtor agreed to remove its insurers and several hundred of its affiliates and, at the conclusion of

the hearing, the Court directed the Debtor to remove Kenvue from the list. Defendants John and

Jane Does 1-1000 are prospective plaintiffs who may at any time while the Chapter 11 Case is

pending seek to hold one or more of the Protected Parties liable for Debtor Talc Claims.

    For the reasons stated on the record at the Hearing, IT IS HEREBY ORDERED
THAT:

               1.     Pursuant to sections 362(a)(1), (3) (6) DQG  D of the Bankruptcy

Code, theDefendants are stayed from commencing or continuing to prosecute any Debtor Talc

Claim against any of the Protected Parties on any theory of liability, whether direct, derivative,

joint and several, successor liability, vicarious liability, fraudulent or voidable transfer or

conveyance, alter ego or otherwise, through and including December 2, 2024. The activities

temporarily prohibited and enjoined by this Order include, without limitation: (a) the pursuit of

discovery from the Protected Parties or their officers, directors, employees or agents; (b) the

enforcement of any discovery order against the Protected Parties; (c) further motions practice

related to the foregoing; and (d) any collection activity on account of a Debtor Talc Claim

against any Protected Party or its officers, directors, employees or agents or its respective assets.

               2.     For the avoidance of doubt, (a) the relief ordered herein shall apply to all

claims asserted in the Pending Actions identified on Appendix A hereto, regardless of whether any

such Pending Action has been removed, remanded, transferred, dismissed and refiled under a

different case number or is on appeal; and (b) the relief ordered herein shall not apply to Kenvue,

Inc. or its subsidiaries. For further avoidance of doubt, and notwithstanding anything to the


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contrary in this Order, the stay imposed by this Order is intended to apply to all activity in the

Pending Actions, whether offensive or defensive, including the pending motion to disqualify, and

to remove from the Executive Committee, the Beasley Allen firm in the federal MDL.

               3.      This Order is entered without prejudice to the Debtor’s right to request that

this Court extend this Order to include other entities, persons and actions not previously identified

in Appendix A hereto or on Appendix B. For the avoidance of doubt, the inclusion of a talc-related

claim on Appendix A is not an admission that such Defendant holds a currently pending claim

against either the Debtor or the Protected Parties.

               4.      Any party subject to this Order may seek relief from any of the provisions

of this Order for cause shown. This Order is without prejudice to the Debtor’s or others’ rights to

seek relief pursuant to section 362 of the Bankruptcy Code.

               5.      Notwithstanding anything to the contrary in this Order, any party asserting

Debtor Talc Claims, without leave of the Court, may take reasonable steps to preserve the

testimony of any person subject to this Order who is not expected to survive the duration of this

Order or who otherwise is expected to be unable to provide testimony if it is not preserved during

the duration of this Order. Notice shall be provided to the Debtor by notifying counsel for the

Debtor of the perpetuation of such testimony, and the parties shall agree on a mutually convenient

date as soon as possible after such notice. The Debtor shall have the right to object to the notice

on any grounds it would have had if it were a party to the underlying proceeding and not subject

to the terms of this Order, and the Debtor may raise any such objection with this Court. The use

of such testimony in any appropriate jurisdiction shall be subject to the applicable procedural and

evidentiary rules of such jurisdiction. All parties reserve and do not waive any and all objections

with respect to such testimony. Defendants or other individuals asserting Debtor Talc Claims may



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not seek to perpetuate the testimony of representatives, including directors, officers, employees

and agents, of the Debtor or the Protected Parties without the consent of the Debtor or an order of

the Court. Notwithstanding the foregoing, parties in lawsuits pending in the MDL who wish to

preserve the testimony of any person subject to this Order who is not expected to survive the

duration of this Order or who otherwise is expected to be unable to provide testimony if it is not

preserved during the duration of this Order shall comply with the process outlined in the In

Extremis Deposition Protocol entered on January 23, 2017 in the MDL.

               6.      This Order shall be immediately effective and enforceable upon its entry.

               7.      This Order shall toll any applicable non-bankruptcy law, any order entered

in a non-bankruptcy proceeding or any agreement that fixes a period under which an enjoined

Defendant is required to commence or continue a civil action in a court other than this Court on

any Debtor Talc Claim asserted against the Debtor or any of the Protected Parties until the later

of: (a) the end of such period, including any suspension of such period occurring on or after the

commencement of the case; or (b) 30 days after the termination or expiration of this Order.

               8.      The deadline to file any answer or other response to the Complaint is tolled

indefinitely subject to an order of this Court.

               9.      The Debtor shall cause a copy of this Order to be served via e-mail,

facsimile, hand delivery or overnight carrier on counsel for the known Defendants within

three business days of its entry on the Court’s docket.

               10.     The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.




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                           11.    This Court retains exclusive jurisdiction over this Order and any and all

            matters arising from or relating to the implementation, interpretation or enforcement of this Order.

                          12.    The Court will conduct a further hearing on the Complaint and the Motion

       on December 2, 2024 DWSP &7 at which it will consider whether the relief granted in

       this Order should be extended, terminated or otherwise modified.




Dated: _________, 2024                            ________________________________________
         August24,
        October 02,2024
                    2019
Houston, Texas                                    CHRISTOPHER M. LOPEZ
                                                  UNITED STATES BANKRUPTCY JUDGE




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